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EXHIBIT A
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY MDL No. 1456

AVERAGE WHOLESALE PRICE

LITIGATION

THIS DOCUMENT RELATES TO re Action Ne: 01-CV-12257 PBS
ALL ACTIONS udge Patti 5. Saris

DECLARATION OF DANIEL R. COHEN IN SUPPORT OF APPLICATION FOR
ADMISSION PRO HAC VICE

Daniel R. Cohen, an attorney with the firm of White & Case LLP, 1155 Avenue of the

Americas, New York, NY 10036, hereby declares:

1, I am a member in good standing of the State Bar of New York;

2. I am currently licensed in good standing to practice law in each jurisdiction in
which I have been admitted;

3. There are no disciplinary proceedings pending against me as a member of the bar

in any jurisdiction;

4. I am familiar with the Local Rules of the United States District Court for the
District of Massachusetts; and

5. Attached hereto as Exhibit B is a Certificate of Good Standing for the Appellate

Division of the Supreme Court of the State of New York Second Judicial Department.
Signed under the pains and penalties of perjury of the laws of the State of Massachusetts.

so

Daniel R. Cohen, Esq.

